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                  UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: HONORABLE STEPHEN ALEXANDER VADEN, JUDGE
__________________________________________
UNITED STATES OF AMERICA,                  :
                                           :
                                           :
                        Plaintiff,         : Court No. 20-03628
                                           :
                  v.                       :
                                           :
AEGIS SECURITY INSURANCE CO.,              :
                                           :
                        Defendant.         :
__________________________________________ :


                         PLAINTIFF’S NOTICE OF INTENT TO
                       REDACT NOVEMBER 15, 2023, TRANSCRIPT

       In accordance with docket number 128, plaintiff, United States, respectfully notifies the

Court that we intend to redact certain information from the transcript of the November 15, 2023,

oral argument. The information we propose to redact consists of the identity of the surety for the

single transaction bonds covering the entries at issue in the action.
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Notice of Intent to Redact


                                          Respectfully submitted,

                                          BRIAN M. BOYNTON
                                          Principal Deputy Assistant Attorney General
                                          Civil Division

                                          PATRICIA M. McCARTHY
                                          Director

                                    By:   /s/ Justin R. Miller
                                          JUSTIN R. MILLER
                                          Attorney-In-Charge
                                          International Trade Field Office

                                          /s/ Beverly A. Farrell
                                          BEVERLY A. FARRELL
Of Counsel:                               Senior Trial Attorney
SUZANNA HARTZELL-BALLARD                  Department of Justice, Civil Division
Office of the Assistant Chief Counsel     Commercial Litigation Branch
U.S. Customs and Border Protection        26 Federal Plaza, Room 346
                                          New York, New York 10278
                                          Tel.: (212) 264-0483 or 9230
                                          Attorneys for Plaintiff


Dated: December 26, 2023




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